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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


MARYLAND,
200 St. Paul Place
Baltimore, MD 21202

MINNESOTA,
                                               Case No.: 1:25-cv-
445 Minnesota Street, Suite 1400
St. Paul, Minnesota 55101-2131
                                               COMPLAINT
DISTRICT OF COLUMBIA,
400 6th Street NW
Washington, DC 20001

ARIZONA,
2005 North Central Avenue
Phoenix, Arizona 85004

CALIFORNIA,
300 S. Spring Street, Suite 1702
Los Angeles, California 90013

COLORADO,
1300 Broadway
Denver, CO 80203

CONNECTICUT,
165 Capitol Avenue
Hartford, CT 06106

DELAWARE,
820 N. French Street
Wilmington, DE 19801

HAWAII,
425 Queen Street
Honolulu, HI 96813

ILLINOIS,
115 South LaSalle Street, 35th Floor
Chicago, IL 60603
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MASSACHUSETTS,
1 Ashburton Pl.
Boston, MA 02108

PEOPLE OF THE STATE OF MICHIGAN,
3030 W. Grand Blvd.
Ste. 9-600
Detroit, MI 48202

NEVADA,
555 E. Washington Ave.,
Las Vegas, NV 89101

NEW JERSEY,
25 Market Street
Trenton, NJ 08625

NEW MEXICO,
P.O. Drawer 1508
Santa Fe, NM 87504-1508

NEW YORK,
28 Liberty St.
New York, NY 10005

OREGON,
100 SW Market Street
Portland, OR 97201

RHODE ISLAND,
150 South Main Street
Providence, RI 02903

VERMONT,
109 State Street
Montpelier, VT 05609

WISCONSIN,
Post Office Box 7857
Madison, Wisconsin 53707

             Plaintiffs,


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       v.

UNITED STATES DEPARTMENT OF
AGRICULTURE,
1400 Independence Avenue, S.W.,
Washington, DC 20250

BROOKE ROLLINS, in her official Capacity
as Secretary of Agriculture,
       1400 Independence Avenue, S.W.
       Room 214W, Whitten Building
       Washington, DC 20250

UNITED STATES DEPARTMENT OF
COMMERCE,
     1401 Constitution Avenue, N.W.
     Washington, DC 20230

HOWARD LUTNICK, in his Official
Capacity as Secretary of Commerce,
      1401 Constitution Avenue, N.W.
      Washington, DC 20230

UNITED STATES DEPARTMENT OF
DEFENSE,
     1000 Defense Pentagon
     Washington, DC 20301-1400

PETER HEGSETH, in his Official Capacity
as Secretary of Defense,
       1000 Defense Pentagon
       Washington, DC 20301-1400

UNITED STATES DEPARTMENT OF
EDUCATION,
     400 Maryland Avenue, S.W.
     Washington, DC 20202

LINDA MCMAHON, in her Official
Capacity as Secretary of Education,
      400 Maryland Avenue, S.W.
      Washington, DC 20202


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UNITED STATES DEPARTMENT OF
ENERGY,
     1000 Independence Avenue, S.W.
     Washington, DC 20024

CHRISTOPHER WRIGHT, in his Official
Capacity as Secretary of Energy,
      1000 Independence Avenue, S.W.
      Washington, DC 20024

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES,
     200 Independence Avenue, S.W.
     Washington, D.C. 20201

ROBERT F. KENNEDY, JR., in his Official
Capacity as Secretary of Health and Human
Services,
       200 Independence Avenue, S.W.
       Washington, DC 20201

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY,
     300 7th Street, S.W.
     Washington, DC 20201

KRISTI NOEM, in her Official Capacity as
Secretary of Homeland Security,
       300 7th Street, S.W.
       Washington, DC 20201

UNITED STATES DEPARTMENT OF
HOUSING AND URBAN DEVELOPMENT,
     451 7th Street, S.W.
     Washington, DC 20410

SCOTT TURNER, in his Official Capacity as
Secretary of Housing and Urban
Development,
       451 7th Street, S.W.
       Washington, DC 20410



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UNITED STATES DEPARTMENT OF
INTERIOR,
     1849 C Street, N.W.
     Washington, DC 20240

DOUGLAS BURGUM, in his Official
Capacity as Secretary of the Interior,
      1849 C Street, N.W.
      Washington, DC 20240

UNITED STATES DEPARTMENT OF
LABOR,
     200 Constitution Avenue, N.W.
     Washington, DC 20210

VINCE MICONE, in his Official Capacity as
Acting Secretary of Labor,
       200 Constitution Avenue, N.W.
       Washington, DC 20210

UNITED STATES DEPARTMENT OF
TRANSPORTATION,
     1200 New Jersey Avenue, S.E.
     Washington, DC 20590

SEAN DUFFY, in his Official Capacity as
Secretary of the Transportation,
       1200 New Jersey Avenue, S.E.
       Washington, DC 20590

UNITED STATES DEPARTMENT OF
TREASURY,
     1500 Pennsylvania Avenue, N.W.
     Washington, DC 20220

SCOTT BESSENT, in his Official Capacity
as Secretary of the Treasury,
       1500 Pennsylvania Avenue, N.W.
       Washington, DC 20220

UNITED STATES DEPARTMENT OF
VETERANS AFFAIRS,
     810 Vermont Avenue, N.W.


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       Washington, DC 20420

DOUGLAS A. COLLINS, in his Official
Capacity as Secretary of the Veterans Affairs,
      810 Vermont Avenue, N.W.
      Washington, DC 20420

CONSUMER FINANCIAL PROTECTION
BUREAU,
    1700 G Street, N.W.
    Washington, DC 20520

RUSSELL VOUGHT, in his Official
Capacity as Acting Director of the Consumer
Financial Protection Bureau,
      1700 G Street, N.W.
      Washington, DC 20520

ENVIRONMENTAL PROTECTION
AGENCY,
     1200 Pennsylvania Avenue, N.W.
     Washington, DC 20460

LEE ZELDIN, in his Official Capacity as
Administrator of the Environmental
Protection Agency,
       1200 Pennsylvania Avenue, N.W.
       Washington, DC 20460

FEDERAL DEPOSIT INSURANCE
CORPORATION,
     550 17th Street, NW
     Washington, DC 20429

TRAVIS HILL, in his Official Capacity as
Acting Chairman of the Federal Deposit
Insurance Corporation,
       550 17th Street, NW
       Washington, DC 20429

GENERAL SERVICES
ADMINISTRATION,
    1800 F Street, NW


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       Washington, DC 20405

STEPHEN EHIKIAN, in his Official
Capacity as Acting Administrator of the
General Services Administration,
      1800 F Street, NW
      Washington, DC 20405

NATIONAL ARCHIVES AND RECORDS
ADMINISTRATION,
     700 Pennsylvania Avenue, N.W.
     Washington, DC 20001

OFFICE OF PERSONNEL MANAGEMENT
     1900 E Street, N.W.
     Washington, DC 20415

CHARLES EZELL, in his Official Capacity
as Acting Director of the Office of Personnel
Management
       1900 E Street, N.W.
       Washington, DC 20415

SMALL BUSINESS ADMINISTRATION,
    409 3rd Street, SW
    Washington, DC 20416

KELLY LOEFLER, in her Official Capacity
as Administrator of the Small Business
Administration,
      409 3rd Street, SW
      Washington, DC 20416

UNITED STATES AGENCY FOR
INTERNATIONAL DEVELOPMENT,
     1300 Pennsylvania Avenue, NW
     Washington, DC 20004

MARCO RUBIO, in his Official Capacities
as Acting Administrator of the United States
Agency for International Development and
Archivist for the National Archives and
Records Administration,


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 1300 Pennsylvania Avenue, NW
 Washington, DC 20004 ,


                 Defendants.

                                         INTRODUCTION

1.     President Trump and his Administration have made no secret of their contempt for the

roughly 2 million committed professionals who form the federal civil service. Nor have they

disguised their plans to terminate vast numbers of civil servants, starting with tens of thousands of

probationary employees. These large-scale, indiscriminate firings are not only subjecting the

Plaintiff States and communities across the country to chaos. They are also against the law.

2.     Federal statutes and regulations set forth procedures that federal agencies must follow

when conducting reductions in force (“RIFs”). Critically, these procedures require that federal

agencies provide 60 days of advance notice to affected employees and to states, so that they have

an opportunity to mitigate the harms of layoffs. Where an agency fails to provide such notice, the

employees “may not be released.”

3.     Over the past month, the new Administration has run roughshod over the RIF requirements.

Specifically, as part of an effort to reduce the size of the federal workforce, the Office of Personnel

Management (“OPM”) has unlawfully directed federal agencies to conduct mass terminations of

probationary employees, suddenly and without any advance notice. Defendants have followed

through on this directive, firing employees by the hundreds and, in many instances, thousands—

all without following the procedures for conducting RIFs and without providing notice to the

affected employees or states.

4.     This campaign has inflicted immense harms on tens of thousands of probationary

employees and their families. It has rendered them jobless without providing any advance notice



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that might have given them an opportunity to seek other employment or even budget to prepare

for the loss of income. As a result, many affected employees and their families are struggling to

make ends meet—to pay rent, buy groceries, and care for their loved ones.

5.     This campaign is harming Plaintiff States, too. In addition to the informational and

procedural injuries resulting from the deprivation of notice to which they were entitled, the lack of

notice has impeded the ability of many Plaintiff States to support affected employees and thereby

mitigate the financial and other impacts on state services. In fact, pursuant to federal statutory

requirements, Plaintiff States operate rapid response teams that provide immediate services and

resources to workers subject to mass layoffs. These services include job placement and job training

services as well as connections to social services like unemployment insurance and health

insurance. Because of Defendants’ failure to adhere to the RIF notice procedures, many Plaintiff

States have had to scramble and expend additional resources to identify even which agencies have

conducted layoffs and which affected employees require support.

6.     Because of the lack of notice, many Plaintiff States have also faced increased

administrative demands related to adjudicating unemployment claims; decreased tax revenues; and

increased demands for social services. Some Plaintiff States have also lost the benefit of services

provided by federal employees embedded within state agencies, without any time to prepare.

7.     To address these harms to Plaintiff States, this action seeks declaratory and injunctive relief

requiring Defendants: to cease the RIFs of probationary employees that they have conducted

unlawfully and without notice; to reinstate any probationary employees who were terminated as

part of mass terminations on or after January 20, 2025; to refrain from separating any employees

pursuant to a RIF prior to reinstatement of the unlawfully terminated probationary employees; and




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to conduct any future RIFs in accordance with applicable laws and regulations, including providing

required notices to Plaintiff States.

                              I.        JURISDICTION AND VENUE

8.      This Court has jurisdiction over this Complaint under 28 U.S.C. § 1331, 28 U.S.C. § 1361,

and 5 U.S.C. § 702.

9.      There is a controversy under 28 U.S.C. § 2201(a), and this Court may grant declaratory

relief, injunctive relief, and other appropriate relief under 28 U.S.C. §§ 1361, 2201-2202, 5 U.S.C.

§§ 704-706 and the Court’s equitable powers.

10.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b)(2) and (e)(1). Defendants

are United States agencies or officers sued in their official capacities. The State of Maryland is a

resident of this district, and a substantial part of the events or omissions giving rise to this

Complaint occurred and continue to occur in Maryland.

                                          II.    PARTIES

11.     Plaintiff the State of Maryland is a sovereign state of the United States of America.

Maryland is represented by and through its chief legal officer, Attorney General Anthony G.

Brown. Under the Constitution of Maryland, and as directed by the Maryland General Assembly,

the Attorney General has the authority to file suit to challenge action by the federal government

that threatens the public interest and welfare of Maryland residents. Md. Const. art. V, § 3(a)(2);

2017 Md. Laws, J. Res. 1.

12.     Plaintiff the State of Minnesota, represented by and through its Attorney General, is a

sovereign state of the United States of America. Minnesota is represented by and through its chief

legal officer, Attorney General Keith Ellison. The Attorney General is Minnesota’s chief legal

officer and is authorized to pursue this action on behalf of the State. Minn. Stat. § 8.01.




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13.    Plaintiff the District of Columbia is a municipal corporation organized under the

Constitution of the United States. It is empowered to sue and be sued, and it is the local government

for the territory constituting the permanent seat of the federal government. The District is

represented by and through its chief legal officer, Attorney General Brian L. Schwalb. The

Attorney General has general charge and conduct of all legal business of the District and all suits

initiated by and against the District and is responsible for upholding the public interest. D.C. Code.

§ 1-301.81.

14.    Plaintiff the State of Arizona, represented by and through its Attorney General, is a

sovereign state of the United States of America. Arizona is represented by and through its chief

legal officer, Kristin K. Mayes. See Ariz. Rev. Stat. § 41-192(A). Attorney General Mayes is

authorized to pursue this action on behalf of the State of Arizona. Id.

15.    Plaintiff the State of California, represented by and through its Attorney General, is a

sovereign state of the United States of America. California is represented by and through its chief

legal officer Rob Bonta who is authorized to act on behalf of the State. Cal. Const. Art. V, § 13.

16.    Plaintiff the State of Colorado is a sovereign state in the United States of America.

Colorado is represented by and through its Attorney General Phil Weiser. The Attorney General

acts as the chief legal representative of the state and is authorized by Colo Rev. Stat. § 24-31-101

to pursue this action.

17.    Plaintiff the State of Connecticut is a sovereign state of the United States of America.

Connecticut is represented by and through its chief legal officer, Attorney General William Tong,

who is authorized under General Statutes § 3-125 to pursue this action on behalf of the State of

Connecticut.




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18.    Plaintiff the State of Delaware, represented by and through its Attorney General, Kathleen

Jennings, is a sovereign state of the United States of America. The Attorney General is Delaware’s

chief law enforcement officer and is authorized to pursue this action pursuant to 29 Del. C. § 2504.

19.    Plaintiff the State of Hawai’i, represented by and through its Attorney General, is a

sovereign state of the United States. The Attorney General is Hawaii’s chief legal officer and chief

law enforcement officer and is authorized by Hawaii Revised Statues § 28-1 to pursue this action.

20.    Plaintiff the State of Illinois, represented by and through its attorney general, is a sovereign

state of the United States of America. Illinois is presented by and through its chief legal officer,

Kwame Raoul, who is authorized to pursue this action on behalf of the State of Illinois. See Ill.

Const. art. V, § 15; 15 ILCS 205/4.

21.    Plaintiff Massachusetts is a sovereign commonwealth in the United States of America.

Massachusetts is represented by Attorney General Andrea Campbell, who is the chief law

enforcement officer of Massachusetts, and brings this action on behalf of itself and its residents to

protect the Commonwealth’s sovereign, proprietary, and quasi-sovereign interests in the

conservation and protection of its natural resources and the environment. See Mass. Const. Am.

Art. 97; Mass. Gen. Laws, ch. 12, §§ 3 and 11D.

22.    Plaintiff the People of the State of Michigan is represented by Attorney General Dana

Nessel. The Attorney General is Michigan’s chief law enforcement officer and is authorized to

bring this action on behalf of the People of the State of Michigan pursuant to Mich. Comp. Laws

§ 14.28.

23.    Plaintiff the State of Minnesota, represented by and through its Attorney General, is a

sovereign state of the United States of America. Minnesota is represented by and through its chief




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legal officer, Attorney General Keith Ellison. The Attorney General is Minnesota’s chief legal

officer and is authorized to pursue this action on behalf of the State. Minn. Stat. § 8.01.

24.     Plaintiff the State of New Jersey, represented by and through its Attorney General, is a

sovereign state of the United States of America. New Jersey is represented by and through its chief

legal officer, Attorney General Matthew J. Platkin. The Attorney General is authorized to act in

federal court on behalf of the State on matters of public concern.

25.     Plaintiff the State of Nevada is a sovereign state of the United States of America. Nevada

is represented by and through its chief legal officer, Attorney General Aaron D. Ford. The Attorney

General has the authority to file this suit to protect and secure the interests of the State. NRS

228.170.

26.     The State of New Mexico is a sovereign state of the United States of America. The Attorney

General of New Mexico is the State’s chief legal officer and is authorized to act in federal court

on behalf of the State on matters of public concern.

27.     Plaintiff the State of New York, represented by and through its Attorney General, is a

sovereign state of the United States of America. Attorney General Letitia James is New York

State’s chief law enforcement officer and is authorized under N.Y. Executive Law § 63 to pursue

this action.

28.     Plaintiff the State of Oregon, represented by and through its Attorney General, is a

sovereign state of the United States. Oregon is represented by and through its chief legal officer,

Dan Rayfield, who is authorized to act on behalf of the State.

29.     The State of Rhode Island is a sovereign state in the United States of America. Rhode

Island is represented by Attorney General Peter F. Neronha, who is the chief law enforcement




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officer of Rhode Island and authorized to pursue this action on behalf of the State of Rhode Island.

R.I. Gen. Laws § 42-9-6.

30.    Plaintiff the State of Vermont is a sovereign state of the United States of America. Vermont

is represented by its Attorney General, who is the State’s chief legal officer and authorized to

pursue this action on behalf of the State. Vt. Stat. Ann. tit. 3, § 159.

31.    Plaintiff the State of Wisconsin is a sovereign state of the United States of America. The

Attorney General of Wisconsin is the State’s chief legal officer and is authorized to act in federal

court on behalf of the State on matters of public concern.

32.    Defendant Department of Agriculture is a cabinet agency in the Executive Branch of the

federal government and is an agency within the meaning of 5 U.S.C. § 552(f).

33.    Defendant Brooke Rollins is the Secretary of the Department of Agriculture. As secretary,

she is responsible for all actions taken by the agency. She is sued in her official capacity.

34.    Defendant Department of Commerce is a cabinet agency in the Executive Branch of the

federal government and is an agency within the meaning of 5 U.S.C. § 552(f).

35.    Defendant Howard Lutnick is the Secretary of the Department of Commerce. As Secretary,

Defendant Lutnick is responsible for all actions taken by the agency. He is sued in his official

capacity

36.    Defendant Department of Defense is a cabinet agency in the Executive Branch of the

federal government and is an agency within the meaning of 5 U.S.C. § 552(f).

37.    Defendant Pete Hegseth is the Secretary of the Department of Defense. As Secretary,

Defendant Hegseth is responsible for all actions taken by the agency. He is sued in his official

capacity.




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38.     Defendant Department of Education is a cabinet agency in the Executive Branch of the

federal government and is an agency within the meaning of 5 U.S.C. § 552(f).

39.     Defendant Linda McMahon is the Secretary of the Department of Education. As Secretary,

Defendant McMahon is responsible for all actions taken by the agency. She is sued in her official

capacity.

40.     Defendant Department of Energy is a cabinet agency in the Executive Branch of the federal

government and is an agency within the meaning of 5 U.S.C. § 552(f).

41.     Defendant Chris Wright is the Secretary of the Department of Energy. As Secretary,

Defendant Wright is responsible for all actions taken by the agency. He is sued in his official

capacity.

42.     Defendant Department of Health and Human Services is a cabinet agency in the Executive

Branch of the federal government and is an agency within the meaning of 5 U.S.C. § 552(f).

43.     Defendant Robert F. Kennedy, Jr. is the Secretary of the Department of Health and Human

Services. As Secretary, Defendant Kennedy is responsible for all actions taken by the agency. He

is sued in his official capacity.

44.     Defendant Department of Homeland Security is a cabinet agency in the Executive Branch

of the federal government and is an agency within the meaning of 5 U.S.C. § 552(f).

45.     Defendant Kristi Noem is the Secretary of the Department of Homeland Security. As

Secretary, Defendant Noem is responsible for all actions taken by the agency. She is sued in her

official capacity.

46.     Defendant Department of Housing and Urban Development is a cabinet agency in the

Executive Branch of the federal government and is an agency within the meaning of 5 U.S.C.

§ 552(f).




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47.     Defendant Scott Turner is the Secretary of the Department of Housing and Urban

Development. As Secretary, Defendant Turner is responsible for all actions taken by the agency.

He is sued in his official capacity.

48.     Defendant Department of the Interior is a cabinet agency in the Executive Branch of the

federal government and is an agency within the meaning of 5 U.S.C. § 552(f).

49.     Defendant Doug Burgum is the Secretary of the Interior. As Secretary, Defendant Burgum

is responsible for all actions taken by the agency. He is sued in his official capacity.

50.     Defendant Department of Labor is a cabinet agency in the Executive Branch of the federal

government and is an agency within the meaning of 5 U.S.C. § 552(f).

51.     Defendant Vince Micone is the Acting Secretary of the Department of Labor. As Acting

Secretary, Defendant Micone is responsible for all actions taken by the agency. He is sued in his

official capacity.

52.     Defendant Department of Transportation is a cabinet agency in the Executive Branch of

the federal government and is an agency within the meaning of 5 U.S.C. § 552(f).

53.     Defendant Sean Duffy is the Secretary of the Department of Transportation. As Secretary,

Defendant Duffy is responsible for all actions taken by the agency. He is sued in his official

capacity.

54.     Defendant Department of the Treasury is a cabinet agency in the Executive Branch of the

federal government and is an agency within the meaning of 5 U.S.C. § 552(f).

55.     Defendant Scott Bessent is the Secretary of the Department of the Treasury. As Secretary,

Defendant Bessent is responsible for all actions taken by the agency. He is sued in his official

capacity.




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56.     Defendant Department of Veterans Affairs is a cabinet agency in the Executive Branch of

the federal government and is an agency within the meaning of 5 U.S.C. § 552(f).

57.     Defendant Doug Collins is the Secretary of the Department of Veterans Affairs. As

Secretary, Defendant Collins is responsible for all actions taken by the agency. He is sued in his

official capacity.

58.     Defendant Consumer Financial Protection Bureau is an agency within the meaning of 5

U.S.C. § 552(f).

59.     Defendant Russ Vought is the Acting Director of the Consumer Financial Protection

Bureau. As Acting Director, Defendant Vought is responsible for all actions taken by the agency.

He is sued in his official capacity.

60.     Defendant Environmental Protection Agency is an agency within the meaning of 5 U.S.C.

§ 552(f).

61.     Defendant Lee Zeldin is the Administrator of the Environmental Protection Agency. As

Administrator, Defendant Zeldin is responsible for all actions taken by the agency. He is sued in

his official capacity.

62.     Defendant Federal Deposit Insurance Corporation is an agency within the meaning of 5

U.S.C. § 552(f).

63.     Defendant Travis Hill is the Acting Chairman of the Federal Deposit Insurance

Corporation. As Acting Chairman, Defendant Hill is responsible for all actions taken by the

agency. He is sued in his official capacity.

64.     Defendant General Services Administration is a cabinet agency in the Executive Branch of

the federal government and is an agency within the meaning of 5 U.S.C. § 552(f).




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65.     Defendant Stephen Ehikian is the Acting Administrator of the General Services

Administration. As Acting Administrator, Defendant Ehikian is responsible for all actions taken

by the agency. He is sued in his official capacity.

66.     Defendant National Archives and Record Administration is an agency within the meaning

of 5 U.S.C. § 552(f).

67.     Defendant Marco Rubio is the Acting Archivist for the National Archives and Records

Administration. As Acting Archivist, Defendant Rubio is responsible for all actions taken by the

agency. He is sued in his official capacity.

68.     Defendant Office of Personnel Management is a cabinet agency in the Executive Branch

of the federal government and is an agency within the meaning of 5 U.S.C. § 552(f).

69.     Defendant Charles Ezell is the Acting Director of the Office of Personnel Management. As

Acting Director, Defendant Ezell is responsible for all actions taken by the agency. He is sued in

his official capacity. Defendant Department of Health and Human Services is a cabinet agency in

the Executive Branch of the federal government and is an agency within the meaning of 5 U.S.C.

§ 552(f).

70.     Defendant Small Business Administration is a cabinet agency in the Executive Branch of

the federal government and is an agency within the meaning of 5 U.S.C. § 552(f).

71.     Defendant Kelly Loeffler is the Administrator of the Small Business Administration. As

Administrator, Defendant Leoffler is responsible for all actions taken by the agency. She is sued

in her official capacity.

72.     Defendant United States Agency for International Development is an agency in the

Executive Branch of the federal government and is an agency within the meaning of 5 U.S.C.

§ 552(f).




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73.    Defendant Marco Rubio is the Acting Administrator of the United States Agency for

International Development. As Acting Administrator, Defendant Rubio is responsible for all

actions taken by the agency. He is sued in his official capacity.

74.    Federal workers reside and work in each of the Plaintiff States. The Defendants have

conducted—or have announced plans to imminently conduct—illegal RIFs by firing probationary

employees in Plaintiff States without adhering to the statutory and regulatory requirements for

conducting RIFs.

                                III.    LEGAL FRAMEWORK

A.     Probationary Employees

75.    OPM’s directive to agencies to terminate probationary employees en masse has swept up

two categories of federal employees whose employment is governed by statute and regulation:

probationary employees in the “competitive” service, and employees within their first two years

of employment in the “excepted” service. Competitive service employees are hired through an

open, competitive hiring process and excepted service employees are appointed through a non-

competitive hiring process. Plaintiff States refer herein to all such employees as “probationary

employees.”

76.    Probationary employees in the competitive service are, with some exceptions, those who

have been employed for less than one year. 5 U.S.C. § 7511(a)(1)(A)(ii); 5 C.F.R. § 315.801.

77.    Employees are appointed as “career” or “career-conditional employees” subject to

completing the probationary period. 5 C.F.R. § 315.201(a).

78.    The probationary period provides the opportunity for the federal agency to assess the

individual performance of the employee. Under governing OPM regulations, an agency “shall

utilize the probationary period as fully as possible to determine the fitness of the employee and




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shall terminate his or her services during this period if the employee fails to demonstrate fully his

or her qualifications for continued employment.” 5 C.F.R. § 315.803(a).

79.    Most employees in the excepted service are also subject to a statutory trial period of two

years, which, like the probationary period in the competitive service, is intended to permit the

agency to evaluate the employee’s performance and fitness for long-term employment. 5 U.S.C.

§ 7511(a)(1)(C)(ii).

80.    Outside of the context of a RIF, federal agencies may lawfully terminate probationary

employees for one of two reasons.

81.    First, a federal agency may lawfully terminate a probationary employee for reasons based

on conditions arising before the employee’s probationary appointment. 5 C.F.R. § 315.805.

82.    Second, a federal agency may lawfully terminate a probationary employee based on the

agency’s assessment of the employee’s performance during the probationary period, pursuant to 5

C.F.R. § 315.804(a), which is entitled: “Termination of probationers for unsatisfactory

performance or conduct.”

83.    Under that regulation, “when an agency decides to terminate an employee serving a

probationary or trial period because his work performance or conduct during this period fails to

demonstrate his fitness or his qualifications for continued employment, it shall terminate his

services by notifying him in writing as to why he is being separated and the effective date of the

action.” 5 C.F.R. § 315.804(a). “The information in the notice as to why the employee is being

terminated shall, as a minimum, consist of the agency’s conclusions as to the inadequacies of his

performance or conduct.” Id. Trial-period employees in the excepted service have the same notice

rights when removed from their positions for performance reasons. 5 C.F.R. § 316.304.




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B.     RIF Requirements

84.    Apart from terminations of probationary employees for conditions arising before their

appointments or for unsatisfactory performance or conduct, federal agencies may only terminate

probationary employees as part of an agency RIF.

85.    A reduction-in-force “is an administrative procedure by which agencies eliminate jobs and

reassign or separate employees who occupied the abolished positions. A RIF is not an adverse

action against a particular employee, but is directed solely at a position within an agency.” James

v. Von Zemenszky, 284 F.3d 1310, 1314 (Fed. Cir. 2002) (citation omitted); Schall v. U.S. Postal

Serv., 73 F.3d 341, 344 (Fed. Cir. 1996) (similar).

86.    An agency must follow specific statutory directives in conducting a RIF, including

following the retention preferences in the statute, giving preference to the retention of military

veterans, and considering the employee’s tenure and length of service. 5 U.S.C. § 3502(a)(1), (3).

87.    Congress delegated to OPM the authority to promulgate regulations that agencies must

follow in implementing RIFs. 5 U.S.C. § 3502(a).

88.    Pursuant to that statutory authorization, and through notice-and-comment rulemaking,

OPM has issued detailed regulations setting forth the procedures by which agencies must conduct

RIFs. See 5 C.F.R. Part 351.

89.    All agencies of the federal government are required to comply with the RIF regulations

whenever they “determine[] that a reduction [in] force is necessary.” 5 C.F.R. § 351.204.

90.    The RIF regulations apply to employees in the competitive and excepted services. 5 C.F.R.

§ 351.202(a), (b).

91.    Probationary employees are expressly covered by the RIF regulations. 5 C.F.R.

§§ 351.501(b)(2), 351.502(b)(2). Probationary employees are included in “group II” of three

groups of employees, and may only be released, in order of retention, after the release of


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“group III” employees, a group that includes employees under various temporary, term, and other

provisional appointments. 5 C.F.R. § 351.501(b).

92.    Under these required RIF procedures, before conducting a RIF a federal agency must:

establish “competitive areas in which employees compete for retention”; designate the

“competitive areas” of which employees are to compete for retention at least 90 days before the

effective date of the RIF; designate any “competitive levels” of positions included in the RIFs that

would permit the agency to reassign retained employees without causing undue interruption; and

rank employees for retention based on factors including their tenure group, time in service

(including military service), veteran preference, length of service, and performance. See 5 U.S.C.

§ 3502(a); 5 C.F.R. §§ 351.402-351.404, 351.504.

C.     RIF Notice Requirements

93.    Under the federal RIF statute and associated regulations, federal agencies are required to

provide at least 60 days of prior written notice before they may release any federal civil service

employee under a RIF. The agency must provide the written notice to (a) the employee, (b) the

employee’s collective bargaining representative, and (c) the state or District where an affected

employee’s duty station was located if the RIF would involve at least 50 employees within the

competitive area, 5 U.S.C. § 3502(d); 5 C.F.R. § 351.803(b).

94.    The notice to the state must be provided to the state or agency designated by the state to

perform rapid response activities under the Workforce Investment Act of 1998, now called the

Workforce Innovation and Opportunity Act of 2014 (“WIOA Agency”), and must also be provided

to “[t]he chief elected official of local government(s) within which these separations will occur.”

5 C.F.R. § 351.803(b); see 5 U.S.C. § 3502(d)(3)(A). The purpose of states’ “rapid response”

activities is to quickly make public and private resources available to workers who are laid off, to

minimize the disruption to the affected workers and their communities. To help the state or locality


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prepare for the disruptions associated with job losses, notices must include: (a) the number of

employees to be separated from service due to the reduction in force, broken down by geographic

area and organizational unit, (b) when those separations will occur; and (c) other information that

may facilitate the delivery of services to the affected workers. 5 U.S.C. § 3502(d); 5 C.F.R.

§ 351.803(c).

95.    The notice to an affected employee must include: (a) information concerning the right to

reemployment consideration and career transition assistance; (b) a release to authorize the federal

government to share his or her resume and employment information with the WIOA Agency and

potential public or private sector employers; and (c) information about how to apply for

unemployment insurance and access other benefits. 5 C.F.R. § 351.803(a).

96.    Where circumstances “not reasonably foreseeable” preclude giving 60 days’ written notice,

the agency may request that OPM shorten the notice period; however, “[n]o notice period may be

shortened to less than 30 days.” 5 U.S.C. § 3502(e).

97.    Where an agency fails to provide any of these statutorily required notices, an employee

“may not be released, due to a reduction in force.” 5 U.S.C. § 3502(d).

                             IV.     FACTUAL ALLEGATIONS

98.    Since President Trump took office on January 20, 2025, Defendant Agencies have, at

OPM’s direction, terminated tens of thousands of probationary employees.

99.    The mass terminations of probationary employees since January 20 were not driven by

agency determinations related to the performance or qualifications of any particular probationary

employee. Rather, these layoffs have all been part of a coordinated effort directed by the White

House and OPM to reduce the size of the federal workforce.




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100.    Because the mass terminations of probationary employees are part of an effort to

restructure and reduce the workforces at Defendant Agencies, they constitute RIFs. See 5 U.S.C.

§ 3502; 5 C.F.R. Part 351.

101.    In terminating probationary employees en masse, Defendants have not abided by the

statutory and regulatory requirements for RIFs, including the requirement to provide 60 days’

notice to the Plaintiff States. This has inflicted and will continue to inflict serious and irreparable

harms on the Plaintiff States, as they must now deal with a sudden surge in unemployment, without

the advance notice required under the federal RIF statute and regulations.

A.      Defendants Have Conducted Unlawful RIFs Throughout the Federal Government.

102.    On January 20, 2025, the day President Trump took office, President Trump appointed

Charles Ezell to serve as Acting OPM Director.

103.    The same day, Acting OPM Director Ezell distributed a memo to “Heads and Acting Heads

of Departments and Agencies” regarding “Guidance on Probationary Periods, Administrative

Leave and Details.” In the memo, OPM directed agency heads to “identify all employees on

probationary periods . . . and send a report to OPM listing all such employees” no later than January

24, 2025. OPM further directed agencies to “promptly determine whether those employees should

be retained by the agency.”1

104.    Also on January 20, 2025, President Trump signed an executive order entitled “Hiring

Freeze.”2 In addition to ordering “a freeze on the hiring of federal civilian employees” throughout

the executive branch, he directed the Director of the Office of Management and Budget—in

consultation with OPM and the United States Department of Government Efficiency Service



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  https://chcoc.gov/sites/default/files/Guidance%20on%20Probationary%20Periods%2C%20Administrative%20Leav
e%20and%20Details%XXX-XX-XXXX%20FINAL.pdf
2
  https://www.whitehouse.gov/presidential-actions/2025/01/hiring-freeze/


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(“DOGE”)—to “submit a plan to reduce the size of the Federal Government’s workforce through

efficiency improvements and attrition.”

105.     On February 11, 2025, President Trump issued Executive Order 14210, entitled

“Implementing the President’s ‘Department of Government Efficiency’ Workforce Optimization

Initiative.” The Executive Order directed agency heads to “promptly undertake preparations to

initiate large-scale reductions in force (RIFs), consistent with applicable law, and to separate from

Federal service temporary employees and reemployed annuitants working in areas that will likely

be subject to the RIFs.”3

106.    Rather than wait for agency heads to develop RIF plans and follow applicable procedures,

however, Defendants began mass unlawful terminations of their probationary employees.

107.    On or around February 11, the Consumer Financial Protection Bureau terminated

approximately 73 probationary employees. 4 The agency terminated 70-100 additional

probationary employees on February 13. 5

108.    On or around February 12, the Department of Education terminated 60 probationary

employees.6

109.    On or around February 12, the General Services Administration notified approximately

100 probationary employees that they would be terminated.7 Upon information and belief, these

terminations will become effective on March 7.




3
  https://www.whitehouse.gov/presidential-actions/2025/02/implementing-the-presidents-department-of-
government-efficiency-workforce-optimization-initiative/
4
  https://www.npr.org/2025/02/12/nx-s1-5294479/cfpb-workers-fired-trump-doge
5
  https://www.npr.org/2025/02/14/nx-s1-5298144/federal-layoffs-usda-hud-defense-trump
6
  https://www.npr.org/2025/02/13/nx-s1-5296928/layoffs-trump-doge-education-energy
7
  https://www.reuters.com/world/us/mass-firings-federal-workers-begin-trump-musk-purge-us-government-2025-
02-13/


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110.    On February 13, OPM officials met with agency officials throughout the federal

government and ordered agencies to lay off nearly all of the federal government’s approximately

220,0000 probationary employees.8

111.    On February 14, OPM sent an email to all agency Chief Human Capital Officers (CHCOs)

and their deputies to “clarif[y] immediate next steps for probationary employees.”

112.    In its February 14 email, OPM explained its directive to agencies:

        We have asked that you separate probationary employees that you have not
        identified as mission critical no later than the end of the day Monday, 2/27. We
        have attached a template letter. The separation date should be as soon as possible
        that is consistent with applicable agency policies (including those in CBAs).

113.    OPM’s February 14 email reiterated that OPM’s directive should be followed in light of

the “President’s directive to dramatically reduce the size of the federal workforce.”

114.    OPM’s directive at the February 13 meeting and in the February 14 email coincided with

a rapid uptick in terminations of probationary employees.

115.    On or around February 13, the Department of Energy terminated nearly 2,000 probationary

employees.9 Days later, the agency rescinded approximately 350 termination notices to

probationary employees in the National Nuclear Security Administration, which oversees the

nation’s nuclear stockpile.10

116.    On or around February 13, the Department of Veterans Affairs terminated more than 1,000

probationary employees.11 The Department of Veterans Affairs fired another 1,400 probationary

employees on February 24.12




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  https://thehill.com/homenews/administration/5144113-federal-probationary-employees-fired/
9
  https://www.politico.com/news/2025/02/13/trump-federal-worker-layoffs-00204180
10
   https://www.cbsnews.com/news/doge-firings-us-nuclear-weapons-workers-reversing/
11
   https://thehill.com/policy/defense/5162213-va-axes-another-1400-employees/
12
   Id.


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117.    On or around February 13, OPM fired 250 probationary employees. 13

118.    On or around February 13, the Small Business Administration terminated around 720

probationary employees.14

119.    On or around February 13, the Department of Agriculture terminated approximately 3,400

probationary employees in the Forest Service. 15

120.    On or around February 13, the Department of Energy terminated around 130 probationary

employees in the Bonneville Power Administration.16 Several days later, the Department of Energy

deemed around 30 of those probationary employees as critical and rescinded the terminations.

121.    On or around February 14, the Environmental Protection Agency fired approximately 388

probationary employees.

122.    On or around February 14, the Interior Department fired approximately 2,400 probationary

employees, including 800 people from the Bureau of Land Management. 17

123.    On or around February 14, the Department of Homeland Security terminated 605

probationary employees, including approximately 240 employees from the Transportation

Security Administration, 200 employees from the Federal Emergency Management Agency, 130

employees from the Cybersecurity and Infrastructure Security Agency, 50 employees from the

U.S. Citizenship and Immigration Services, and 10 employees from the DHS Science and

Technology Directorate.18



13
   https://www.appropriations.senate.gov/news/minority/fact-sheet-trump-and-elons-layoffs-jeopardize-essential-
services-americans-rely-on-threaten-critical-agency-objectives-keeping-americans-
safe_healthy#:~:text=On%20February%2013%2C%20OPM%20fired,minutes%20to%20leave%20the%20building
14
   https://www.politico.com/news/2025/02/13/trump-federal-worker-layoffs-00204180
15
   https://www.politico.com/news/2025/02/13/forest-services-fires-3400-employees-00204213
16
   https://www.opb.org/article/2025/02/19/bonneville-power-administration-reverses-30-job-cuts-continues-with-
plans-to-eliminate-430-positions/
17
   https://www.aol.com/news/trump-administration-lays-off-over-183049169.html
18
   https://www.usatoday.com/story/news/politics/2025/02/20/tsa-trump-workers-fired/79307363007/;
https://thehill.com/homenews/5154340-dhs-fires-probationary-employees/


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124.    On or around February 14, the Department of Health and Human Services terminated

around 1,300 probationary employees working for the Centers for Disease Control (“CDC”) and

Prevention.19 Upon information and belief, the Department of Health and Human Services has also

terminated probationary employees at the National Institutes of Health, the Food and Drug

Administration, and the Centers for Medicare and Medicaid Services.

125.    Upon information and belief, on or around February 14, the Department of Housing and

Urban Development terminated more than 50 probationary employees.

126.    On or around February 15, the Department of Interior fired around 1,000 probationary

employees in the National Park Service.20

127.    On or around February 15, the Department of Agriculture fired around 2,000 probationary

employees.21 Several days later, the department rehired several employees who were involved in

the government’s response to the ongoing bird flu outbreak.

128.    On or around February 18, the Department of Transportation terminated around 400

probationary employees in the Federal Aviation Administration.22

129.    On or around February 18, the Federal Deposit Insurance Corporation terminated

approximately 170 probationary employees. 23

130.    On or around February 20, the Department of the Treasury terminated over 6,000

probationary employees, including over 6,000 probationary employees from the Internal Revenue

Service and 76 probationary employees from the Office of the Comptroller of the Currency. 24


19
   https://www.npr.org/2025/02/14/nx-s1-5298144/federal-layoffs-usda-hud-defense-trump.
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   https://apnews.com/article/doge-firings-layoffs-federal-government-workers-musk-
d33cdd7872d64d2bdd8fe70c28652654
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   https://apnews.com/article/doge-firings-layoffs-federal-government-workers-musk-
d33cdd7872d64d2bdd8fe70c28652654
22
   https://apnews.com/article/doge-faa-air-traffic-firings-safety-67981aec33b6ee72cbad8dcee31f3437
23
   https://news.bloomberglaw.com/banking-law/fdic-fires-probationary-employees-amid-continued-agency-cull
24
   https://www.reuters.com/world/us/us-irs-expected-fire-6700-employees-thursday-trump-downsizing-spree-2025-
02-20/; https://news.bloomberglaw.com/banking-law/occ-starts-firing-probationary-staff-joining-other-regulators


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Upon information and belief, the Office of the Comptroller of the Currency terminations will

become effective on March 7.

131.    On or around February 20, the National Archives and Records Administration terminated

over 60 probationary employees.25

132.    Upon information and belief, on or around February 20, the Department of Labor notified

more than 50 probationary employees that they will be terminated. Upon information and belief,

the effective date of termination will be March 7.

133.    On February 21, the Department of Defense announced that it was planning to terminate

5,400 probationary workers starting the week of February 24. 26 Upon information and belief, those

terminations have not begun, but they may begin at any moment.

134.    Upon information and belief, on or around February 24, the United States Agency for

International Development terminated approximately 250 probationary employees.

135.    On February 27, the Department of Commerce fired around 800 probationary employees

in the National Oceanic and Atmospheric Administration.27 Upon information and belief, the

agency plans to fire additional probationary employees and those terminations may begin at any

moment.

136.    On or around February 28, the Department of Commerce fired 86 probationary employees

in the U.S. Patent and Trademark Office.28




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   https://www.govexec.com/workforce/2025/02/see-which-federal-agencies-are-firing-new-hires/403033/
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   https://www.defense.gov/News/Releases/Release/Article/4074278/dod-probationary-workforce-statement/
27
   https://www.cnn.com/2025/02/27/politics/noaa-federal-workers-
firings/index.html#:~:text=Probationary%20employees%20%E2%80%94%20those%20who%20have,National%20
Weather%20Service%20told%20CNN
28
   https://www.govexec.com/workforce/2025/03/some-agencies-are-still-firing-probationers-while-others-have-
recalled-theirs-following-court-ruling/403407/?oref=ge-skybox-post


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137.    On or around March 3, the Department of Commerce fired 73 probationary employees at

the National Institute for Standards and Technology.29

138.    Upon information and belief, Defendants have already terminated tens of thousands of

probationary employees.

139.    Defendants have not published official counts and locations of the employees they have

terminated, but based on publicly reported numbers and firsthand accounts from affected

employees, it appears that Defendants have terminated at least 24,000 probationary employees as

of the date of this Complaint. Because Plaintiff States have not received notice of these mass

terminations, this accounting is necessarily incomplete and may be far higher.

140.    Thousands of additional terminations are expected any day. To continue to reduce the size

of the federal workforce, agencies that have not yet terminated most of their probationary

employees may do so at any moment.

B.      Defendants Have Not Followed Required RIF Procedures for the Mass Layoffs of
        Probationary Employees

141.    Although the mass terminations of probationary employees have constituted RIFs,

Defendants have failed to follow the RIF procedures required by statute and regulation.

142.    For example, Defendants did not designate the “competitive areas” in which employees

would compete for retention, which they must do at least 90 days before the effective date of any

RIF. See 5 C.F.R. § 351.402.

143.    Defendants did not designate any “competitive levels” of positions included in the RIFs

that would permit the agency to reassign retained employees without causing undue interruption.

See 5 C.F.R. § 351.403.



29
  https://www.govexec.com/workforce/2025/03/some-agencies-are-still-firing-probationers-while-others-have-
recalled-theirs-following-court-ruling/403407/?oref=ge-skybox-post


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144.   Defendants did not establish a retention register of employees in each competitive level of

positions included in the RIFs. See 5 C.F.R. § 351.404.

145.   Defendants did not then rank employees for retention based on their tenure group, time in

service (including military service), veteran preference, length of service, and performance. See 5

U.S.C. § 3502(a); 5 C.F.R. §§ 351.501-351.504.

146.   Defendants did not provide required notices 60 days in advance of the effective date of

termination to affected employees, their collective bargaining representatives, or to Plaintiff States.

See 5 U.S.C. § 3502(d); 5 C.F.R. § 351.803.

147.   Especially relevant to Plaintiff States, Defendants did not provide affected employees with

the required releases to authorize the release of their resumes and other relevant employment

information to the relevant WIOA Agency, for employment referrals to potential public and private

sector employers. See 5 C.F.R. § 351.803(a).

148.   Likewise, Defendants did not provide Plaintiff States and the relevant WIOA Agencies

with any prior notice, much less the 60-day notice required by law, which would have alerted

Plaintiff States to the number of employees to be separated from the agencies, broken down by

geographic area, and provided the effective date of the planned separations as well as other

information that could have facilitated the delivery of rapid response services. See 5 U.S.C.

§ 3502(d); 5 C.F.R. § 351.803(b)-(c).

149.   Rather than comply with their legal obligations, Defendants summarily terminated

probationary employees en masse, providing termination notices to the affected employees by

form letters and emails, which frequently included errors and in many instances failed to include

even the employee’s name or job title.




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150.   These form termination notices, issued near-simultaneously to thousands of federal

probationary employees, failed to include any particularized agency determinations related to the

performance or qualifications of each affected probationary employee to justify their termination.

The notices were pretextual because Defendants were actually engaged in RIFs designed to reduce

the size of the federal workforce.

151.   For example, agency management at the National Science Foundation informed

probationary employees that the NSF had previously chosen to retain its probationary employees

but that OPM had directed NSF to terminate the employees. The managers said that terminating

the probationary employees was not a decision the agency made,” but was “a direction [it had]

received” from OPM and that NSF leadership had “no choice” but to “follow[] orders.”

152.   Likewise, in response to OPM’s directive to terminate probationary employees en masse,

the Department of Treasury directed the Internal Revenue Service to terminate all probationary

employees “based on performance.” Without conducting any review of probationary employees’

qualifications or performance, the Department of Treasury directed the IRS to terminate

approximately 6,700 probationary employees. These terminations were unrelated to the

probationary employees’ qualifications, performance, or conduct, but were in fact a RIF aimed at

reducing the size of the agency’s workforce.

153.   The same pattern occurred at the Center for Consumer Information and Insurance

Oversight (CCIIO), a subset of the Centers for Medicare & Medicaid Services (CMS) within the

Department of Health and Human Services (HHS). CCIIO had determined that none of its

probationary employees should be removed from service because all were well qualified for their

positions and were performing well. Nevertheless, on February 13, 2025, HHS directed CCIIO to

terminate all of its probationary employees and to issue form termination letters that stated falsely




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that the affected employees were being terminated “because [their] ability, knowledge, and skills

do not fit the Agency’s current needs, and [their] performance has not been adequate to justify

further employment.” The CCIIO terminated 82 probationary employees on February 15, 2025,

representing approximately 15% of its workforce of approximately 600.

154.    Defendants’ failure to provide required RIF notices rendered any terminations ineffective

and unlawful because an employee “may not be released, due to a reduction in force” unless an

agency provides all statutorily required notices. 5 U.S.C. § 3502(d).

155.    As explained in further detail below in Section IV.C, Defendants’ failure to provide these

required notices has harmed Plaintiff States in several ways, including by hindering the ability to

provide rapid response services.

C.      Plaintiffs Are Harmed As a Direct Result of Defendants’ Failure to Follow RIF
        Requirements and Provide Advance Notice to the States.

156.    Plaintiff States have suffered and will imminently suffer several types of irreparable injury

due to the federal government’s failure to provide notice of the RIFs.

157.    As noted above, when a federal agency plans to release 50 or more employees in a RIF,

the agency must provide 60 days’ notice to the affected States’ WIOA Agencies as well as the

chief elected officials for affected local jurisdictions.

158.    Plaintiff States have not received notice of a federal reduction in force from any federal

agency.

159.    In enacting the RIF notice requirements, Congress recognized the harms inherent to

sudden, unexpected mass layoffs, including that economic dislocation of workers can easily create

a cascade of instability throughout a regional economy. And it sought to provide the states with

some protection against those harms by requiring that agencies provide them with advance notice.




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160.    Defendants’ failure to provide notice has inflicted other harms as well. As a result of the

lack of notice, Plaintiff States are unable to proactively reach affected individuals and provide

services that would mitigate the harm the employees and their communities suffer as a result of

the sudden job loss.

161.    Plaintiff States also suffer procedural injury resulting in additional expenditures and harms

to public finances that they would not have to bear if notice had been provided.

                                  Rapid Response Expenditures

162.    The Federal Workforce Innovation and Opportunity Act of 2014, 29 U.S.C.

§ 3174(A)(2)(i), requires that each state have a rapid response program to conduct outreach to

workers affected by a mass layoff and to provide the workers with support services, including job

transition services.

163.    The notice required by 5 U.S.C. § 3502(d)(3)(A) is intended to trigger rapid response

activities since it is explicitly to be given to the state entity required to carry out rapid response

activities.

164.    The purpose of the rapid response system is to reduce individuals’ reliance on public

benefit systems, such as unemployment insurance; to promote economic recovery and vitality by

developing an ongoing, comprehensive approach to identify, plan for, and respond to layoffs and

dislocations; and to prevent or minimize the impact of mass layoffs on workers, businesses, and

communities.

165.    When notified of a forthcoming mass layoff, a state’s rapid response team is required to:

contact the employer, representatives of the affected workers, and the local community; assess the

layoff plans and schedule; and provide information and support to affected employees, including




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information about filing for unemployment compensation and career services. 20 CFR §§

682.300, 682.330.

166.   The rapid response teams also facilitate connections to partner agencies and organizations

that can provide terminated workers and their families with critical services, such as home heating

assistance, legal aid, and financial advice.

167.   Because Plaintiff States’ rapid response teams have received no notice of federal RIFs,

certain teams have been required to dedicate significantly more staff, resources, and expenditures

to fulfill their statutory mission. In particular, they have had to devote significant time and

resources simply to try to identify workers subject to federal mass layoffs and to otherwise make

resources available to potentially affected individuals in new ways, all because federal agencies

have failed to provide the legally required notice of mass layoffs.

168.   As one example of these efforts, some state agencies handling unemployment claims have

created new websites, requiring significant time and expense. See Maryland Workers Impacted by

Recent Federal Actions, https://response.maryland.gov/federalpublicservants/. These efforts were

a further attempt to provide rapid response resources and services, which could normally be

targeted at specific personnel before they are laid off, but must now be provided less efficiently

and at greater expense to the entire public, because the states’ personnel remain unaware of who

has been laid off and whether and when the next federal mass layoff event will occur.

169.   As another example, because Maryland’s Department of Labor did not receive advance

notice, staff have conducted extensive affirmative outreach to dozens of federal agencies and

offices to try and determine the location and extent of upcoming layoffs. Despite these efforts,

staff have not received any substantive responses. The Department has also had to divert

significant additional time of other agency personnel from state projects to instead respond to




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federal mass firings, to try and identify recently terminated employees and provide relevant

resources and services.

                             Unemployment Benefits Expenditures

170.   As a general matter, the federal government is required to reimburse states for

unemployment benefits provided to former federal employees. Specifically, Plaintiff States are

party to an agreement with the United States Secretary of Labor, wherein the Secretary shall pay,

as an agent of the United States, Unemployment Compensation for Federal Employees (“UCFE”)

pursuant to 5 U.S.C. § 8502(a).

171.   Each Plaintiff State has its own procedures for handling Unemployment Insurance (“UI”)

claims. Regardless, sudden mass layoffs burden the administrative process for handling UI claims,

and the lack of notice and chaotic nature of Defendants’ mass layoffs of probationary employees

has already exacerbated or likely will exacerbate the strain on the Plaintiff States’ systems for

administering UI.

172.   Maryland’s experience exemplifies the problems with the unlawful way the Defendants

have conducted RIFs of probationary employees.

173.   The Maryland Department of Labor manages claims for unemployment benefits by

individuals formerly employed to work in Maryland.

174.   Pursuant to Md. Code Ann., Lab. & Empl. § 8-805(a), an individual in Maryland who

wishes to collect unemployment insurance benefits must file a claim in accordance with

regulations adopted by the Maryland Secretary of Labor. Claimants file claims online using the

Department’s system to assert a claim initially and to provide information to indicate the basis of

the claim, the name of the claimant’s previous employer, the reason for her separation, work

experience, and other relevant information. COMAR 09.32.02.05.




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175.   The reason for termination alleged by the claimant is then transmitted to the claimant’s

employer(s) for verification. The employer is then asked to furnish a report of the separation from

employment containing, among other information, the reason for the employee’s separation and a

report of wage history. Md. Code Ann. Lab. & Empl. § 8-627; see also COMAR 09.32.02.05.

176.   Maryland law disqualifies some claimants from benefits depending on the circumstances

of their separation from employment. See Md. Code Ann. Lab. & Empl. § 8-1001, et seq.

Disqualifying circumstances include, among other reasons, termination for misconduct,

aggravated misconduct, and gross misconduct. Id. In addition, a claimant is disqualified if they

quit their job without good cause directly related to employment conditions or employer actions.

Md. Code Ann. Lab. & Empl. § 8-1001(a).

177.   If a determination involves a resolution of a dispute of material fact, a claims examiner

from the Maryland Department of Labor must conduct a predetermination fact-finding interview

after notice is provided to the employee and her employer(s). Md. Code. Ann. Lab & Empl. § 8-

806(a)(2). Thereafter, a written initial determination must be made stating, among other things, the

weekly benefit amount, maximum benefits payable to the claimant in a benefit year, and the

reasons for the determination. Md. Code Ann. Lab. & Empl. § 8-806(c).

178.   If the claims examiner’s review of a claim reveals no dispute of material fact, but the

information reviewed indicates that claimant may be ineligible or disqualified, the claims

examiners must still schedule a call for an appointment for a fact-finding interview and render a

written decision. COMAR 09.32.16(D)-(E). A claimant or an employer may file an administrative

appeal within 15 days. Md. Code Ann. Lab. & Empl. § 8-806(e)(1).

179.   The Maryland Department of Labor’s latest data indicates that 813 former federal

employees have applied for unemployment benefits since January 21, 2025.




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180.      As noted above, the number of UCFE claims received by the Maryland Department of

Labor has increased significantly in just the last few weeks, starting on or around February 14,

2025, with an approximate range of 30 to 60 new such claims every day.

181.      In fact, the amount of UCFE claims received by the Maryland Department of Labor in

February 2025 is significantly higher than past years. From January 21 to March 3, 2024,

Maryland received only 189 unemployment claims containing federal wages in the claimant’s base

period.

182.      While not required to apply for unemployment benefits, multiple individuals have attached

in their application their letter of employment termination from the federal government. Such

letters indicate that these individuals were probationary employees purportedly terminated for

cause.

183.      When an employer provides the initial report of separation to the Maryland Department of

Labor, the employer must indicate the reason for the separation, including whether the employee

was fired for cause, such as misconduct.

184.      Accordingly, if an employer states in its report of separation that an individual was

terminated because performance has not been adequate to justify further employment at the

agency, the Maryland Department of Labor’s procedures require that the claims examiner must

investigate the reason for discharge.

185.      The Maryland Department of Labor is also required to verify both wages and reason for

separation of employment from each federal agency by sending a request for wage and separation

information. 20 C.F.R. §§ 609.6(e)(1), 609.21 through 609.25. While private employers report

wages each quarter for all employees into the Department’s database, see COMAR 09.32.01.12,

federal agencies are not required to regularly report active employee wages to the States.




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186.   The same Department staff who handle regular unemployment claims also process and

adjudicate UCFE claims. Redirecting staff from handling regular UI claims to process and

adjudicate UCFE claims threatens to strain the state’s resources.

187.   This diversion of personnel will undoubtedly impede the timely processing of regular UI

claims, creating significant backlogs and delays. The consequences will be far-reaching, affecting

countless individuals who depend on swift resolutions to sustain their livelihoods. By diverting

resources, the state must compromise the efficiency and responsiveness of its claims processing

system, ultimately undermining public trust and exacerbating economic hardship.

188.   While the Maryland Department of Labor is only beginning to process these claims, its

staff has already begun contacting relevant federal agencies to request information on relevant

terminations, to determine if they were in fact done for cause

189.   Thus far, Maryland has received at least 193 reports of separation from federal agencies,

concerning their recently terminated employees.

190.   Several Defendant agencies reported that probationary employees were terminated due to

a “permanent lack of work due to a change in Presidential Administration.”

191.   In addition, the Maryland Department of Labor received several reports from Defendant

agencies explicitly stating that the employees were “laid off due to a reduction in force.”

192.   And, as relevant here, certain reports by Defendants asserted that the employee at issue

was terminated for cause, for instance due to “unsatisfactory work performance” and similar

generic performance-related bases.

193.   Similarly, other reports highlighted various potentially disqualifying circumstances. For

instance, agencies indicated that claimants might not be genuinely unemployed or had voluntarily

resigned from their positions.




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194.   Due Defendants’ assertions that certain federal employees were terminated for cause or

otherwise ineligible or disqualified from benefits, or where there is disputed or conflicting

information, Maryland will be required to follow our intensive and mandatory investigative

process.

195.   The procedures impose a significant strain on the Maryland Department of Labor’s

financial and temporal resources. Each case demanding interviews and/or a fact-finding

proceeding necessitates extensive staff hours for scheduling, conducting interviews, reviewing

evidence, and drafting detailed decisions. The need to send notices, accommodate witness

testimony, and facilitate cross-examination further escalates the time commitment. Moreover, the

potential for subsequent appeals triggers a cascade of additional hearings and reviews, diverting

resources from other essential departmental functions.

196.   Moreover, where federal agencies fail to provide responses to requests for separation

information, the Maryland Department of Labor must gather necessary wage and separation

information. 20 C.F.R. § 609.6 (e)(2). This requires claims staff to solicit evidence from the

claimants in the form of pay stubs, W-2s and affidavits and to pay benefits based on that

information. In fact, recent federal guidance regarding federal unemployment during recent

government shutdowns encourages states to have claimants file an affidavit, using available proof,

given “limited federal HR resources” to respond to requests for separation information.

“Unemployment Insurance Program Letter 03-22,” U.S. Department of Labor, November 2022,

https://www.dol.gov/sites/dolgov/files/ETA/advisories/UIPL/2021/UIPL_03-22.pdf.

197.   In addition, termination notices issued by federal agencies were not issued in compliance

with governing reduction in force procedures. It is apparent that there are affected individuals,

including veterans, who should have been accorded preference under required RIF procedures but




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were not. To the extent that preferences and other such requirements would have precluded

termination, and federal employees successfully challenge their separations, this will cause the

Department to re-adjudicate claims, pursue overpayments, and conduct appeals.

198.   While the federal Government provides grants for the purpose of administrating state

unemployment benefit programs, these grants are frequently less than the total administrative costs

incurred by Maryland. And that is the case now; the federal grant monies allocated to Maryland

are not sufficient to cover Maryland’s unemployment benefit program administration.

199.   In these circumstances, Maryland relies on its Special Administrative Expense Fund

(“SAEF”) when federal funding is insufficient. See Md. Code Ann., Labor & Employment §§ 8-

419 to 842. This fund may be comprised of previously transferred federal funds (in limited

circumstances), as well as monies collected by the state through fines, interest, and other penalties,

and contributions by the state legislature. Id. § 8-421. Currently, SAEF is comprised entirely of

state funds. Accordingly, any increase in administrative costs of Maryland’s unemployment

benefits program will be covered at least in part by state funds.

200.   Other Plaintiff States must also undergo intensive and mandatory investigation and appeal

processes for handling disputes between claimants and employers involving the claimant’s

eligibility. Many Plaintiff States anticipate a significant increase in these disputes given the

Defendants’ chaotic and conflicting messaging around the reasons for terminating probationary

employees. Handling these disputes will cause those Plaintiff States to divert staff to handle the

time-consuming dispute resolutions and hinder the timely processing of ordinary unemployment

claims that are not disputed.

201.   For example, the Illinois Department of Employment Security (“IDES”) has already

received almost the same number of applications for unemployment benefits from former federal




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workers this year as it received in all of last year. A substantial number of these claims require

resource intensive fact-finding that will cause backlogs and delays in IDES’s processing of other

claims, exacerbating economic hardship for countless Illinoisans.

202.   IDES is also being forced to divert resources and staff to respond to the latest layoff news,

to identify affected federal agencies and ex-employees, provide information, and adjust procedures

and resources to assist confused and unemployed workers in Illinois, all in a complicated and

rapidly evolving environment. To take one example, IDES had to create a new webpage, at

significant time and expense, in an attempt to provide resources and services. See

https://ides.illinois.gov/unemployment/deferred-resignation-of-federal-employees.html.        Such

efforts could normally be targeted at specific personnel subject to impending layoff events but

must instead be provided less efficiently and at greater expense to the entire public because IDES

personnel remain unaware of the individuals who have already been laid off and whether and when

the next federal mass layoff event will occur.

203.    In some jurisdictions, a flood of contested UI claims will cause a backlog that affects the

timely adjudication of a wide range of administrative matters that are handled by the same

administrative law judges (“ALJs”), ranging from building code enforcement to traffic tickets.

204.   Plaintiff States have seen or anticipate seeing an uptick in UI claims in the areas in which

the probationary employee layoffs occurred. This sudden increase—without any advanced

notice—has burdened and will continue to burden state agencies charged with administering UI

benefits.




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                              Expenditures for Other Social Services

205.   Plaintiff States bear other burdens associated with many residents suddenly losing income.

These costs arise in the administration of programs aimed at providing connections to social

services, like health care and food assistance.

206.   Newly unemployed individuals apply for Medicaid at high rates, and the Plaintiff States

bear a direct economic cost to provide healthcare services to them and their families.

                 Harms to State Programs That Depend on Federal Employees

207.   Many federal probationary employees who were terminated by the CDC were detailed to

work at Plaintiff States’ public health agencies. This includes several employees who were hired

by the CDC as part of its Public Health Associate Program for Recent Graduates (“PHAP”). PHAP

is a two-year program that places recent college graduates with tribal, local, and territorial public

health agencies, as well as non-governmental organizations, to work alongside other public health

professionals in a variety of settings.

208.   For example, three recently terminated PHAP employees (“Associates”) were assigned to

New Jersey’s Department of Health (“NJDOH”), which is responsible for preventing the spread

of infectious diseases and developing emergency preparedness plans in the state. CDC and

NJDOH entered into a two-year contract, pursuant to which CDC agreed to cover all costs for the

Associates, including salary and benefits. NJDOH has participated in the PHAP program for

several years and often hires PHAP Associates, who gain invaluable training and institutional

knowledge over the course of the program, for permanent employment at the conclusion of their

two-year term.

209.   The three Associates were detailed to different NJDOH divisions that perform core public

health functions: the Division of HIV, STD, and TB Services; the Epidemiology, Environmental




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and Occupational Health’s Communicable Disease Service; and the Global Tuberculosis Institute

at Rutgers University. Each Associate was a member of a small team dedicated to reducing the

spread of communicable diseases such as HIV, TB, and foodborne and waterborne illnesses. This

work involved laborious investigations, contact tracing, and collaborations with numerous local,

state, and federal partners to ensure anyone infected or at risk of infection has access to treatment.

210.   Between February 16 and 17, 2025, NJDOH learned that the three Associates had been

terminated from their positions on February 15, 2025—before the expiration of their contractual

two-year terms. CDC never notified NJDOH of these terminations. Between March 4 and 5,

NJDOH learned that the Associates were being reinstated.

211.   Despite their reinstatement, the sudden loss of essential personnel, coupled with the lack

of notice, caused NJDOH significant harm and disruption. NJDOH had invested significant time

and resources into months-long training for the Associates, and the agency did not have the

budgetary flexibility or hiring authority to replace them, particularly given the lack of any notice.

The unexpected staffing shortages and imminent need to reallocate and train existing staff already

caused delays and administrative chaos, which impeded NJDOH’s ability to fulfill its mission of

limiting the spread of infectious diseases in the state. The timing of the terminations was especially

problematic because NJDOH has been dealing with numerous communicable disease challenges,

including H5N1, measles, Covid-19, influenza, norovirus, and RSV. The loss in workforce

capacity during this time hampered NJDOH’s ability to fully respond to these public health threats.

212.   The lack of notice compounded the challenges created by the terminations. NJDOH was

not able to plan for the terminations, resulting in administrative inefficiencies, duplicative work,

and delayed notifications to persons exposed to certain communicable diseases.




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                                     Harms to State Finances

213.   The mass layoffs that have taken place without the legally required notice to Plaintiff States

will also have substantial impacts on the Plaintiff States’ finances.

214.   For instance, the U.S. Secretary of Labor has discretion to reimburse states for

administrative costs required to conduct the state unemployment compensation program. 42 U.S.C.

§ 502(a). While many Plaintiff States have been and continue to expend additional resources

necessary to address the uptick in federal unemployment claims, it is not yet known whether those

additional costs will be fully reimbursed.

215.   Further, Plaintiff States rely in large part on income tax revenue for their budgets. Because

Defendant agencies will no longer be withholding and paying income taxes to Plaintiff States on

behalf of the terminated probationary employees, the layoffs will result in a decrease to Plaintiff

States’ revenues. Given the number of employees forced to seek reemployment—with no notice

and no opportunity for Plaintiff States to provide support services—it is highly likely that many of

the Plaintiff States’ residents will be unemployed for prolonged periods, depriving the Plaintiff

States of significant income tax receipts.

216.   For example, the District of Columbia estimates that the mass terminations of probationary

employees will cause millions of dollars in lost annual income tax revenue. The District estimates

that its lost income tax revenue for the first 60 days alone, the period in which it should have

received advance notice of any RIFs, will cost the District at least hundreds of thousands of dollars

in lost income tax revenue. Had the District received the notice required by law, these losses would

likely have been mitigated, including because employees would not have been terminated during

the 60-day notice period and some would have been able to obtain alternative employment prior

to their termination.




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217.   Likewise, the Maryland Comptroller projects that the mass terminations of probationary

employees will cause significant decreases in Maryland’s income tax revenues. Maryland’s budget

relies in large part on personal income tax revenue, which represented 55% of Maryland’s general

fund revenues for fiscal year 2024. Approximately 250,000 federal workers reside in Maryland.

Although unemployed individuals receiving unemployment benefits generally pay income tax on

their benefits, the benefits paid are less than the amount the individuals earned when they were

fully employed, and therefore the taxes paid are generally less than the taxes paid during their

employment.

218.   Beyond the direct loss of income tax revenue, the Maryland Comptroller anticipates that a

sudden and significant increase of newly unemployed workers will have serious negative effects

on Maryland’s labor market, including extended periods of unemployment, downward pressure on

wages, and the migration of residents out of the state.

219.   The terminations also impact state sales tax revenues.

220.   For example, for the District of Columbia, this impact comes from two primary sources:

First, federal employees living outside of the District who commute to work in the District

purchase meals at restaurants, pay parking fees, and purchase other goods and services before,

during, and after work. Second, in addition to these workday purchases, federal employees who

are District residents also contribute to our economy as full-time residents, spending on groceries,

household items, restaurants, clothing, and various services.

221.   The District estimates that these mass terminations could cause anywhere from hundreds

of thousands to millions of dollars in lost annual sales tax revenue. The District further estimates

that for the first 60 days alone, the period in which it should have received advance notice of any

RIFs, the District will lose tens to hundreds of thousands of dollars in sales tax revenues. Had the




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District received the notice required by law, these losses would likely have been mitigated,

including because employees would not have been terminated during the 60-day notice period and

some would have been able to obtain alternative employment prior to their termination.



                                     CLAIMS FOR RELIEF
                                           COUNT I
                        Violation of the Administrative Procedures Act
                             Action Not in Accordance with Law

222.   Plaintiffs re-allege and incorporate herein by reference every allegation and paragraph set

forth previously.

223.   Under the Administrative Procedure Act (“APA”), a court shall “hold unlawful and set

aside agency action . . . found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. § 706(2)(A).

224.   Defendants are agencies subject to the APA. 5 U.S.C. § 701.

225.   Because Defendants’ mass terminations of probationary employees are part of an effort to

restructure and reduce the federal workforce, they constitute RIFs, and Defendants were obligated

to follow RIF procedures set forth by statute and regulation to carry out the terminations. See 5

U.S.C. § 3502; 5 C.F.R. Part 351.

226.   Defendants violated the law by carrying out the mass terminations of probationary

employees without following the required RIF procedures, see 5 U.S.C. § 3502; 5 C.F.R. Part 351,

including providing 60 days’ notice to states and affected employees before releasing the

employees, 5 U.S.C. § 3502(d). Absent such notice, an employee “may not be released.” 5 U.S.C.

§ 3502(d).

227.   The actions of Defendants therefore violate the APA because they are not in accordance

with law in violation of 5 U.S.C. § 706(2)(A).


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                                          COUNT II
                        Violation of the Administrative Procedures Act
                                   Arbitrary and Capricious

228.   Plaintiffs re-allege and incorporate herein by reference every allegation and paragraph set

forth previously.

229.   Under the APA, a court shall “hold unlawful and set aside agency action . . . found to be

. . . arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.

§ 706(2)(A).

230.   Defendants are agencies subject to the APA. 5 U.S.C. § 701.

231.   The terminations of probationary employees pursuant to OPM’s order have been arbitrary

and capricious in several respects, including:

232.   Defendants OPM and OPM Director failed to provide a reasoned explanation for their

direction to agencies to carry out mass terminations of probationary employees without following

RIF procedures.

233.   Defendants failed to provide a reasoned explanation for following OPM’s direction and

carrying out mass terminations of probationary employees.

234.   Third, to the extent Defendants provided any explanation at all for the mass terminations,

the reasons given were pretextual as they purported to relate to individual employees’ performance

but did not identify any actual unsatisfactory performance or conduct or any reasons preceding the

affected employees’ appointments that justified their terminations. Rather than Defendants’ stated

reasons, Defendants’ true reason for terminating the probationary employees was to reduce the

size of the federal workforce.

235.   The arbitrariness of Defendants’ actions and the indiscriminate nature of the terminations

is underscored by the fact that Defendants have had to reverse the firings of individuals fulfilling




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certain critical functions, such as protecting nuclear weapons and addressing a significant public

health threat.

                                         COUNT III
                              Non-Statutory Review of Ultra Vires Action

236.    Plaintiffs re-allege and incorporate herein by reference every allegation and paragraph set

forth previously.

237.    Plaintiffs have a non-statutory right of action to enjoin and declare unlawful official action

that is ultra vires.

238.    Defendants mass terminations of probationary employees were RIFs. These RIFs were

unlawful because Defendants conducted them without following required RIF procedures, see 5

U.S.C. § 3502; 5 C.F.R. Part 351, including providing 60 days’ notice to states and affected

employees before releasing the employees, 5 U.S.C. § 3502(d). Absent such notice, an employee

“may not be released.” 5 U.S.C. § 3502(d).

239.    Defendants’ actions terminating probationary employees en masse therefore exceeded their

lawful authority and were ultra vires.

240.    Plaintiffs will suffer irreparable injury if Defendants’ actions are not declared unlawful and

enjoined, and Plaintiffs have no adequate remedy at law.

241.    The public interest favors issuance of a judicial declaration that Defendants’ terminations

of federal probationary employees are unlawful and issuance of an injunction requiring Defendants

to reinstate the affected employees and to follow RIF procedures for any further RIFs. Defendants’

actions have resulted in the unlawful termination of tens of thousands of probationary federal

employees, including large numbers of military veterans, causing a sudden surge of unemployment

without providing Plaintiff States with notice or an opportunity to prepare.




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                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court:

242.   Declare unlawful and set aside Defendants’ terminations of probationary employees

without making specific, individualized determinations regarding the employees’ performance or

conduct and without adhering to RIF requirements as arbitrary, capricious, an abuse of discretion,

or otherwise not in accordance with law under 5 U.S.C. § 706(2)(A);

243.   Declare unlawful and set aside Defendants’ terminations of probationary employees

without making specific, individualized determinations regarding the employees’ performance or

conduct and without adhering to RIF requirements as ultra vires and exceeding their lawful

authority;

244.   Issue immediate temporary relief restraining Defendants from terminating any

probationary employees without making specific, individualized determinations regarding the

inadequacy of the employee’s conduct or performance and reinstating probationary employees

who were terminated on or after January 20, 2025, as part of mass terminations that did not comply

with RIF procedures and were not based on individualized determinations of the inadequacy of the

employee’s conduct or performance;

245.   Order Defendants to file a status report with the Court within 48 hours of entry of a

temporary restraining order, and at regular intervals thereafter, identifying all probationary

employees terminated on or after January 20, 2025 (including the following information for each

employee: agency, name, position title, grade, termination date, whether the probationary

employee has been reinstated, and the date of any reinstatement), and reporting all steps that

Defendants have taken to comply with the Court’s temporary restraining order;




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246.   Enter preliminary and permanent injunctive relief enjoining any further terminations that

do not follow the RIF requirements or requirements for separating probationary employees for

performance and enjoining Defendants from separating any employees pursuant to a RIF prior to

the reinstatement of the probationary employees described above;

247.    Award to Plaintiffs their costs of litigation including, but not limited to, reasonable

attorneys’ fees, under 28 U.S.C. § 2412, and any other applicable law; and

248.   Order such other and further relief as this Court deems just and appropriate.

Respectfully submitted,

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* Pro hac vice application
forthcoming
**Application for admission
pending




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